                            UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF WISCONSIN


CHELSEA A. HARRIS, et al.,
                                      Plaintiff(s),

                           v.                                      TELEPHONE CONFERENCE
                                                                  RE: [57] Motion to Amend Complaint

                                                                           Case No. 20-C-373
WELLPATH LLC., et al.,
                                      Defendant(s).


HONORABLE WILLIAM C. GRIESBACH presiding                                          Time Called: 10:02 AM
Proceeding Held: August 13, 2021                                               Time Concluded: 10:50 AM
Deputy Clerk: Mara                                                                       Tape: 081321

Appearances:

    Plaintiff(s):     James End
                      Alexa Bradley

    Defendant(s):     R Fletcher Koch


The Court addresses the pending motion to amend complaint to add defendants Dr. Fatoki and Nurse Denissen.
The Court notes defendants have objected to adding the two new defendants.
Parties currently have a dispositive motion deadline of 9/1/21 and the discovery deadline has passed.
10:07 AM Mr. End addresses the discovery cutoff and notes counsel for Plaintiff received defendant’s expert
reports in early July and will be completing one deposition today and one more next week.
Mr. End discusses Plaintiff’s position and does not believe there will be any additional facts arising out of the
amendment. Mr. End addresses further discovery.
10:09 AM The Court notes there are final pretrial and jury trial deadlines listed on the docket. The parties state
those dates have previously been vacated. The Clerk is directed to terminate those deadlines on the docket.
Mr. End states he is unsure if the two new defendants would be represented by the same or different counsel.
10:11 AM Mr. Koch discusses defendants’ position and is also unsure who would represent the two added
defendants. Mr. Koch addresses concerns as to the serious allegations and substantial prejudice as to the
defendants if the amendments are allowed to be made.
10:17 AM Mr. End responds and states the claims are very serious and had not been previously raised. Plaintiff’s
counsel was not aware Nurse Denissen did not look at the plaintiff’s medical records when the original complaint
was filed. Mr. End does not believe Nurse Denissen relayed the proper information regarding Plaintiff’s
symptoms. Mr. End discusses support from Plaintiff’s experts as to the claims.
10:24 AM The Court inquires as to the number of staff on call at the time of the incident. Mr. End responds.
The Court inquires as to Dr. Fatoki’s responsibilities. Mr. End responds and does not believe Dr. Fatoki had been
previously informed of Plaintiff’s high-risk pregnancy. The Court and Mr. End discuss the 47-second phone call
made to Dr. Fatoki by Nurse Denissen.
Mr. End further discusses claims against defendant Nurse Denissen and Dr. Fatoki.
10:37 AM Mr. Koch responds and states there is a significant amount of speculation as to the claims.

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Mr. Koch further discusses defense’s opposition as to the claims and states it is unfair, improper, and prejudicial
to allow Plaintiff to add defendants Denissen and Fatoki at this point in time.

10:43 AM The Court is satisfied it can alleviate any prejudice by modifying the scheduling order.
The Court GRANTS Plaintiff’s Motion to Amend Complaint. The Court is satisfied there are inferences drawn
from facts supported by the evidence. The Court states there is a basis that there was deliberate indifference.
10:48 AM The Clerk is directed to detach and file the proposed amended complaint (docket no. 57-1).
The Clerk is also directed to schedule a telephone conference to address further scheduling once defendants
Denissen and Fatoki file an answer to the amended complaint.
Mr. Koch requests that defendants’ experts be allowed an opportunity to review the new allegations prior to their
upcoming depositions. No objections.
The Court VACATES the current discovery and motion deadlines.
New deadlines will be set at the telephone scheduling conference.
10:50 Adjourned.




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